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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov

In re:

DAYMARK REALTY ADVISORS, INC.,                               CASE NO.: 18-23750-RBR
DAYMARK PROPERTIES REALTY, INC.,                             CASE NO.: 18-23752-RBR
DAYMARK RESIDENTIAL MANAGEMENT,                              CASE NO.: 18-23751-RBR
INC.,                                                        (substantively consolidated)

      Debtors.                                               CHAPTER 7 CASE
______________________________________/

   CERTIFICATE OF SERVICE OF ORDER (I) APPROVING SALE OF ASSETS
PURSUANT TO TRUSTEE’S NOTICE OF SALE OF BANKRUPTCY ESTATE ASSETS
   AND (II) SUSTAINING OBJECTION TO TRUSTEE'S NOTICE OF SALE OF
                     BANKRUPTCY ESTATE ASSETS

         I HEREBY CERTIFY that a true and correct copy of the Order (I) Approving Sale of
Assets Pursuant to Trustee’s Notice of Sale of Bankruptcy Estate Assets and (II) Sustaining
Objection to Trustee’s Notice of Sale of Bankruptcy Estate Assets [ECF 792] has been served via
the Court’s CM/ECF noticing system to all parties entitled to receive notice via the Court’s
CM/ECF noticing system on this 31st day of May, 2022 and via U.S. mail to the parties on the
attached service list on the 1st day of June, 2022.
         Dated this 31st day of May, 2022.

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Label Matrix for local noticing             American National Insurance Company                BMC Group Inc.
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(u)Infinity Urban Century, LLC                       (u)NNN 1818 Market Street 13, LLC                    (u)NNN 300 Four Falls 12, LLC




(u)NNN Aventura Harbour 10, LLC                      (u)NNN Aventura Harbour Centre 16, LLC               (u)NNN Capital Fund I, LLC
                                Case 18-23750-SMG     Doc 793         Filed 05/31/22         Page 24 of 25
(u)NNN Congress Center, LLC                  (u)NNN Four Falls 20, LLC                           (u)NNN Royal 400 12, LLC




(u)Plantations at Haywood 1, LLC             (u)Plantations at Haywood 13, LLC                   (u)Plantations at Haywood 2, LLC




(u)Plantations at Haywood 23, LLC            (u)RRM Enterprises LLC                              (u)Sovereign Capital Management Group, Inc.




(u)Sovereign Strategic Mortgage Fund, LLC    (u)SuvaWinds, Inc.                                  (u)Western Alliance Bank




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                            Case 18-23750-SMG     Doc 793          Filed 05/31/22   Page 25 of 25
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End of Label Matrix
Mailable recipients    73
Bypassed recipients    63
Total                 136
